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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Vioxx®                                    *     MDL Docket No. 1657
                                                 *
PRODUCTS LIABILITY                               *    SECTION L
LITIGATION                                       *
                                                 *    JUDGE FALLON
                                                 *
This document relates to:                        *
                                                 *    MAGISTRATE JUDGE
Robert Lee Garry, et al. v. Merck & Co.          *
Inc., Docket No. 06-10155, only                  *
Regarding Brenda Burr                            *     KNOWLES
                                                 *
***************************************

                MOTION TO WITHDRAW AS COUNSEL OF RECORD

          Pursuant to Local Rule 83.2.11, and in accordance with Pretrial Order 36, the law

firms of Beasley, Allen, Crow, Methvin, Portis, & Miles, P.C. and Seeger Weiss, LLP,

Counsel of record for Brenda Burr, move the Court for an order granting leave for

Counsel to withdraw as Counsel of record in the above-styled case.        In support of this

motion, the undersigned states as follows:

          1.     Plaintiff suffered an injury while taking Vioxx other than a heart attack or

stroke.

          2.     Rule 1.16(b)(4) of the Model Rules of Professional Conduct states that a

lawyer may withdraw from representing a client if: “the client insists upon taking an

action . . . with which the lawyer has a fundamental disagreement.”

          3.     Counsel and Plaintiff have a fundamental disagreement as to the most

prudent and effective way to proceed with the above-styled case. Therefore, Counsel

moves the Court for an Order allowing them to withdraw from this case.

          4.     Counsel has communicated to the Plaintiff in writing their intent to file a

motion to withdraw and their reasons for filing the motion to withdraw. Counsel sought
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Plaintiff’s consent to withdraw but has been unable to obtain it. In addition, Counsel will

send to Plaintiff a copy of the present motion and proposed order to the Plaintiff via

certified mail.

        5.        Written notice of the filing of this Motion was sent via certified mail to

Plaintiff’s last known mailing address. Plaintiff’s last known address is 63 Mosley Drive,

Trenton, South Carolina 29847.

        6.        PTO 36 will be complied with in all other respects, including providing a

copy of said Order to Plaintiff.

        7.        Pursuant to Judge Fallon’s Order, LexisNexis File & Serve will be notified

of this change in party/counsel status as soon as the Order is entered.

        For these reasons, Beasley, Allen, Crow, Methvin, Portis & Miles, P.C. and

Seeger Weiss, LLP urge the Court to grant their motion to withdraw as Counsel of record

in this matter.

        Respectfully submitted this the 7th day of May, 2008.

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                                                  /s/ Benjamin L. Locklar
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PLAINTIFF’S STEERING COMMITTEE

                            CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Plaintiff’s Motion to Withdraw as

Counsel of Record has been served on Liaison Counsel, Phillip A. Wittman and Russ

Herman, by U.S. Mail and upon all parties by electronically uploading the same to

LexisNexis File & Serve Advanced, in accordance with Pretrial Order No. 8A, and that

the foregoing was electronically filed with the Clerk of the Court of the United States

District Court for the Eastern District of Louisiana by using the CM/ECF system which

will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657 on this the 7th day of May, 2008.




                                             /s/ Benjamin L. Locklar
                                           OF COUNSEL
